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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

KOMET BEING, individually and on Case No.:
behalf of others similarly situated,

Plamtlffs, CLAss ACTIoN CoMPLAINT

VS.

ADAM CRUM, in his official capacity as
Commissioner of the Alaska Department of
Health and Social Services,

Defendant.

 

 

PRELIMINARY STATEMENT
l. Plaintiff Komet (“SWan”) Being is a transgender Alaska resident Who
receives medical assistance through Alaska’s Medicaid program (“Alaska Medicaid”).
Plaintiff, and all other similarly situated transgender beneficiaries of Alaska l\/Iedicaid

in need of treatment for gender dysphoria, are being denied medically necessary services

by the defendant based on a discriminatory regulation (hereinafter “the Regulation”)

 

 

that categorically denies Medicaid coverage for “treatment, therapy, surgery, or other
procedures related to gender reassignment.” 7 Alaska Administrative Code (AAC)

105.110(12).

 

2. Defendant’s discriminatory Regulation treats transgender beneficiaries of

Alaska Medicaid as second-class citizens and treats their transition-related health care

 

needs as “medically unnecessary.” The Regulation is grounded in sex stereotypes,

 

 

discomfort With gender nonconformity, and moral disapproval of people Who are |

trans gender.

 

 

3. Not only does the Regulation discriminate on the basis of sex, it also lacks

any rational basis. The Regulation flies in the face of the medical consensus that gender-

 

 

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§ § confirming medical care is the only safe and effective medical treatment for gender
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§ §> dysphoria - the clinically significant distress associated With having a gender identity
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9 3 the innate, internal sense of one’s seX, i. e., bein male of female that conflicts With the
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sex one Was assigned at birth _ and Wholly disregards the harms of denying transgender

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i individuals access to critical and often life-saving care.

4. Plaintiff has been denied Medicaid coverage for medically necessary
treatments for gender dysphoria as a result of the defendant’s discriminatory Regulation.
She brings this action on behalf of herself and all others similarly situated to challenge
the Regulation as a violation of her civil rights under Section 1557 of the Patient
Protection and Affordable Care Act, 42 U.S.C. § 18116 (“ACA”); the comparability and
availability requirements of the federal Medicaid Act, 42 U.S.C. §§ l396a(a)(10)(A)-

(B); and the Equal Protection Clause of the U.S. and Alaska Constitutions.

 

 

 

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JURISDICTION

5. This Court has jurisdiction under 28 U.S.C. §§ 1331 and l343(a)(3)-(4).
This Court also has supplemental jurisdiction over plaintiff’s state law claim pursuant
to 28 U.S.C.V§1367 because they arise from a common nucleus of operative facts.

6. Plaintiff’ s claims for declaratory and injunctive relief are authorized by 28
U.-S.C. §§ 2201-02 and 42 U.S.C. § 1983.

7. Venue is proper under 28 U.S.C. § 1391 because defendant resides and is
subject to personal jurisdiction in the District of Alaska; the events or omissions giving
rise to plaintiffs claims occurred Within the District; and plaintiff and the putative class
members all reside in the District.

PARTIES

8. Plaintiff Komet (“SWan”) Being is a natural person Who resides in Homer,
Alasl<a. Ms. Being is a trans gender Woman Who has lived in accordance With her female
gender identity at all times material to this complaint

9. Defendant Adam Crum is the Commissioner of the Alaska Department of
Health and Social Services (“DHSS”), Which is the agency that is responsible for
administering Alaska’s Medicaid program. Commissioner Crum is sued in his official

capacity. Defendant Crum is a “person” subject to liability under 42 U.S.C. § 1983.

GENERAL ALLEGATIONS

T he Medicaid Program

10. Congress established the Medicaid program in 1965 as a joint federal-state

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endeavor to provide medical assistance to eligible low-income individuals Whose
resources and income are insufficient to afford necessary medical services.

ll. Through Medicaid, the federal government subsidizes a substantial
portion of a participating state’s expenditures in providing covered medical care.

12. Although state participation in Medicaid is optional, participating states,
must comply With the federal requirements of the Medicaid program.

13. The Medicaid Act requires each participating state to designate a single
state agency that is responsible for administering or supervising the state’s Medicaid
program. 42 U.S.C. § l396a(a)(5).

l4. The Medicaid Act requires that participating states cover certain
mandatory health care services, including in-patient and out-patient hospital services
and physician services, if they are medically necessary. 42 U.S.C. §§ 1396a(a)(10)(A),
l396d(a).

15 . Under the Medicaid Act, “the medical assistance made available to any
individual . . . shall not be less in amount, duration or scope that the medical assistance
made available to any other such individual.” 42 U.S.C. § 1396a(a)(10)(B)(i).

16. In addition, a state “Medicaid agency may not arbitrarily deny or reduce
the amount or scope of a required service . . . to an otherwise eligible recipient solely
because of the diagnosis, type of illness, or condition” of the recipient 42 C.F.R. §
440.230(c).

17 . Moreover, state Medicaid programs must provide medical assistance “in

a manner consistent With . . . the best interests of the recipients.” 42 U.S.C. §

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1396a(a)(19).

18. During all relevant times, the State of Alaska has participated in the
Medicaid program and has received federal funds from the U.S. Department of Health
and Human Services (“HHS”).

19. DHSS is the “single state agency” that administers Alaska Medicaid.

20. DHSS has promulgated a regulation Which categorically denies Medicaid
coverage for “treatment, therapy, surgery, or other procedures related to gender l
reassignment.” 7 AAC 105.110(12). Since the Regulation’s promulgation, DHSS has |

categorically denied medically necessary services to transgender individuals seeking i

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transition-related health care, including, but not limited to, gender-confirming surgical
procedures and related treatments for gender dysphoria.
Gender Identity and Gender Dysphoria

21. Gender identity is a Well-established medical concept, referring to one’s
innate, internal sense of one’s sex - z'.e., being male or female - and is a basic part of
every person’s core identity. Typically, a person’s gender identity is consistent With the
sex they Were assigned at birth. Transgender people, however, have a gender identity
that is different from their assigned sex.

22. Transgender men are men Who Were assigned “female” at birth, but have
a male gender identity. Transgender Women are Women Who Were assigned “male” at
birth, but have a female gender identity.

23. Gender dysphoria is a serious medical condition codified in the Diagnostic

and Statistical Manual of Mental Disorders (“DSM-V”) and International Classification

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of Diseases (ICD-10). Under the DSM-V, gender dysphoria is the clinically significant
distress or impairment in social occupational, or other areas of function associated with
the incongruence between a transgender person’s gender identity and assigned sex.

24. The widely accepted standards of care for treating gender dysphoria are
published by the World Professional Association for Transgender Health (“WPATH”).
The WPATH Standards of Care have been recognized as the authoritative standards of
care by the leading medical organizations, including the American Medical Association,
the American Psychological Association, and the American Academy of Pediatrics.

25. Under the WPATH standards, medically necessary treatment for gender
dysphoria may require medical steps to affirm one’s gender identity andtransition from
living as orie gender to another. This treatment, often referred to as transition-related
care, may include hormone therapy, surgery (sometimes called “sex reassignment
surgery” or “gender confirmation surgery”), and other medical services that align
individuals’ bodies with their gender identities The exact medical treatment varies
based on the individualized needs of the person.

26. When a transgender person’s gender dysphoria is left untreated, the
consequences can be dire. Symptoms can include intense emotional suffering, anxiety
and depression, suicidality, and thoughts or acts of self-haim. All of those symptoms
can be mitigated, and often prevented altogether, for transgender people with access to
appropriate individualized medical care as part of their gender transitions.

27. There is no medical or scientific support for the Regulation, which

categorically denies Medicaid coverage for transition-related health care for trans gender

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people with gender dysphoria. To the contrary, there is a strong consensus among
medical and mental health professionals that gender-confirming surgical procedures and
hormonal treatments are the only safe and effective medical treatments for the gender
dysphoria experienced by many transgender individuals, including plaintiff Komet
Being.

28. In June 2008, the American Medical Association (“AMA”) passed
Resolution 122 recognizing gender dysphoria (then known as Gender Identity Disorder
or GID) as a “serious medical condition” which, “if left untreated, can result in clinically
significant psychological distress, dysfunction, debilitating depression and, for some
people without access to appropriate medical care and treatment, suicidality and death.”
American Medical Association, Resolution 122, Removz'ng Financz`al Barrz`ers to Care
for Transgender Patienls (J urie 16, 2008). The AMA’s resolution stated that “experts in
GID, including [WPATH], have rejected the myth that such treatments are ‘cosmetic’
or ‘experimental’ and have recognized that these treatments can provide safe and
effective treatment for a serious health condition.” Id.

29. In Resolution 122, the Al\/[A opposed categorical exclusions of coverage
for treatment of gender dysphoria when prescribed by a physician, noting that “many of
these same treatments . . . are often covered for other medical conditions” and that “the
denial of these otherwise covered benefits for patients suffering from GlD~represents
discrimination based solely on a patient’s gender identity.” Ia’.

30. The American Psychiatric Association, the American Psychological

Association, and the Endocrine Society have all issued similar resolutions

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31. Applying contemporary standards of care, Medicare, private insurers, and
the vast majority of state Medicaid programs routinely cover transition-related surgery
as medically necessary treatment for gender dysphoria.

F acts Concerning PlaintiffKomet Being

32. Plaintiff Komet (“Swan”) Being is a 70-year-old transgender woman who
resides in Homer, Alaska. Ms. Being has lived in Homer since 1983.

33. During all relevant times, Ms. Being has been a beneficiary of Alaska
Medicaid. Ms. Being relies on Alaska Medicaid for her health care needs.

34. Ms. Being has been medically diagnosed with gender dysphoria. She
experiences dysphoria related to the disconnect between her primary and secondary sex
characteristics and her gender identity.

35. Ms. Being underwent a gender transition and has been living as a Woman
for nearly five years. As part of her gender transition, Ms. Being has received medical
treatment, including Hormone Replacement Therapy (“HRT”), to alleviate her gender
dysphoria by aligning her physical characteristics with her gender identity.

36. Ms. Being’s medical and mental health providers have recommended that
she continue to receive medical treatment related to her hormone levels to alleviate her
ongoing symptoms of gender dysphoria. Unfortunately, Ms. Being cannot obtain these
medically necessary services because Alaska Medicaid will not cover them.
Consequently, she has suffered, and is continuing to suffer, symptoms of gender
dysphoria, severe emotional distress, and physical injury and pain, all of which would

be avoidable if she had access to this medically necessary care.

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37. On or about January 10, 2019, Ms. Being’s treating doctor requested prior
authorization from Alaska Medicaid for round-trip transportation services between her
home in Homer and Anchorage so that Ms. Being could receive hormonal injections and
lab work associated with her gender reassignment

38. On or about January 25, 2019, Conduent State Healthcare, LLC, which
has a contract with DHSS to provide authorization review for certain medical services,
sent Ms. Being a notice which denied the request for travel authorization for the
following reason: “HORMONAL INJECTIONS AND LAB WORK ASSOCIATED
WITH GENDER REASSIGNMENT IS NOT A COVERED BENEFIT UNDER
ALASKA MEDICAID. MEDICAID DOES NOT TRAVEL FOR NON-COVERED
SERVICES.” As legal support, the notice cited to the Regulation.

CLASS ALLEGATIONS

39. Plaintiff brings this action on her own behalf and on behalf of all persons
who are similarly situated, under Fed. R. Civ. P. 23(a) and 23(b)(2).

40. The class is defined as follows: All beneficiaries ofAlaska Medicaid who
have sought in the two years prior to the filing of this complaint, or will seek in the
future, Medicaid coverage for “treatment, therapy, surgery, or other procedures related
to gender reassignment.”

41. All requirements for class certification under Fed. R. Civ. P. 23(a) are met
in this case. Specifically:

a. The class is so numerous that joinder of all members is

impracticable Upon information and belief, there are more than 40

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individuals in the proposed class.
b. There are questions of law or fact common to the class, including
whether defendant is violating section 1557 of the ACA; the comparability
and availability requirements of the federal Medicaid Act; and/or the j
Equal Protection Clause of the Fourteenth Amendment by categorically
denying Medicaid coverage for “treatment, therapy, surgery, or other

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procedures related to gender reassignment”

c. The claims of the representative party are typical of those of the
class. |
d. The representative party will fairly and adequately represent the l

class. Neither the representative plaintiff nor her counsel have interests

which might cause them not to vigorously pursue this action.
42. Certification of a class under Fed. R. Civ. P. 23(b)(2) is appropriate
because the defendant at all times has acted or refused to act on grounds generally
applicable to the class, thereby making appropriate final injunctive relief and

corresponding declaratory relief with respect to the class as a whole.

STATEMENT OF CLAIMS 1
COUNT I |

(Unlawful Discrimination on the Basis of Sex in Violation of Section 1557 of the
Patient Protection and Affordable Care Act, 42 U.S.C § 18116)

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43. Plaintiff repeats and incorporates by reference the allegations in each of
the preceding paragraphs

44. Under Section 1557 of the Affordable Care Act, “an individual shall
not . . . be excluded from participation in, be denied the benefits of, or be subjected to
discrimination under, any health program or activity, any part of which is receiving
Federal financial assistance, including credits, subsidies, or contracts of insurance, or
under any program or activity that is administered by an Executive Agency or any entity
established under this title (or amendments)” on the basis of sex. 42 U.S.C. § 18116.

45. By virtue of its acceptance of federal financial assistance from HHS,
DHSS is Subject to the nondiscrimination requirements of section 1557 of the ACA.

46. The Regulation, on its face and as applied to the plaintiff and the putative
class members, violates section 1557’s prohibition against discrimination on the basis
of sex in a health program or activity receiving federal funding.

47. As a result of defendant’s discrimination, committed under color of state
law, plaintiff and the putative class members have been and are continuing to be injured
as a result of being denied medically necessary care. Plaintiff and the putative class

members have suffered damages as a result.

COUNT II

(Violation of the Medicaid Act’s Availability Requiremelits, 42 U.S.C §
1396a(a)(10)(A))

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48. Plaintiff repeats and incorporates by reference the allegations in each of
the preceding paragraphs
49. The Regulation and defendant’S refusal to provide medically necessary
services to plaintiff and the putative class members violate the Medicaid Act’s
availability requirement, 42 U.S.C.§ 1396a(a)(10)(A), which is enforceable via 42
U.S.C. § 1983.
COUNT III

(Violation of the Medicaid Act’s Comparability Requirements, 42 U.S.C §
1396a(a)(10)(B))

50. Plaintiff repeats and incorporates by reference the allegations in each of
the preceding paragraphs
51. The Regulation and defendant’s refusal to provide medically necessary
services to plaintiff and the putative class members violate Medicaid’s comparability
requirement, 42 U.S.C.§ 1396a(a)(10)(B), which is enforceable via 42 U.S.C. § 1983.
COUNT IV

(Violation of 42 U.S.C. § 1983 Based on the Deprivation of Plaintiffs’ Rights
Under the Equal Protection Clause of the Fourteenth Amendment)

52. Plaintiff repeats and incorporates by reference the allegations in each of

the preceding paragraphs
53. The Regulation, on its face and as applied to plaintiff and the putative class
members, discriminates against transgender individuals on the basis of sex in violation

of the right to equal protection of the laws under the Fourteenth Amendment to the

United States Constitution.

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54. Defendant has thereby, under color of state law, deprived plaintiff and the
putative class members of the rights, privileges or immunities Secured by federal law in
violation of42 U.S.C. § 1983.

COUNT V

(Violation of Alaska’s Equal Protection Clause, Alaska Const., Art. 1, Sec. 1)

55. Plaintiff repeats and incorporates by reference the allegations in each of
the preceding paragraphs.

56. The Alaska Constitution guarantees that “that all persons are equal and
entitled to equal rights, opportunities, and protection under the law. . . .” Alaska Const.,
Art. I, Sec. 1.

57. Alaska’s Equal Protection Clause provides a sliding scale of protection.
The more serious a right is, the weightier the burden is on the State to justify the unequal
treatment.

58. The Regulation, on its face and as applied to plaintiff and the putative class
members, discriminates against transgender individuals on the basis of sex.

59. The right to medical care is a fundamental right, and thus defendant’s
discriminatory treatment of transgender beneficiaries of Alaska Medicaid requires a
strong justification

60. The Regulation does not withstand scrutiny under Alaska’s Equal
Protection Clause because it lacks any rational basis. The Regulation flies in the face of
the medical consensus that gender-confirming medical care is the only safe and effective

medical treatment`for gender dysphoria _ the clinically significant distress associated

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with having a gender identity (the innate, internal sense of one’s sex, i.e., being male of

female) that conflicts with the sex one was assigned at birth - and wholly disregards the

harms of denying transgender individuals access to critical and often life-saving care.
REOUEST FOR RELIEF

WHEREFORE, plaintiff respectfully asks that this Court enter judgment in |

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A. Assume jurisdiction over this matter;

B. Certify this action as a class action under Fed. R. Civ. P. 23(a) and
23(b)(2) with respect to the proposed class identified herein;

C. Issue preliminary and permanent injunctions enjoining any further
enforcement or application of the Regulation, 7 AAC 105.110(12), and direct
defendant to begin providing Medicaid coverage for all medically necessary
care, including surgical treatments, hormone treatment therapy_, and other
required costs associated with such care, necessary for the treatment of gender
dysphoria;

D. Enter a declaratory judgment that the Regulation, both on its face
and as applied to plaintiff and the putative class members:

i. Violates section 1557 of the Affordable Care Act, 42 U.S.C. §
18116, by discriminating on the basis of sex (including sex
stereotyping, gender identity, being transgender, and

undergoing a gender transition);

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favor of the plaintiff and the putative class members as follows: `

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ii. Violates the Medicaid act’s availability requirement, 42
U.S.C.§ 1396a(a)(10)(A);

iii. Violates the Medicaid act’s comparability requirement, 42
U.S.C.§ 1396a(a)(10)(B); and

iv. Violates the Equal Protection Clause of the Fourteenth

 

Amendment by discriminating on the basis of sex; and

v. Violates the Equal Protection Clause of the Alaska

 

Constitution, Alaska Const.. Art. 1, Sec. 1. by discriminating on

' the basis of sex.

i E. Award compensatory damages, as permitted under Section 1557 of
the Patient Protection and Affordable Care Act, 42 U.S.C. § 18116, in an

| amount that would fully compensate the plaintiff for: (1) the harms to her

short- and long-term health and well-being, including emotional distress,

 

from being denied access to medically necessary health care as a result of the

Regulation; (2) her economic losses; and (3) all other injuries that have been
caused by defendant’s acts and omissions alleged in this Complaint;

F. Award the plaintiff litigation costs and reasonable attorney’s fees,
pursuant to 42 U.S.C. § 1988 or other applicable statutes; and

G. Grant any such other, further, or different relief as the Court may
deem just and proper.

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DATED this f day of March, 2019 at Anchorage, Alaska.

NORTHERN JUSTICE PROJECT, LLC
Attorneys for Plaintiff

By: /s/ James J. Davis. Jr.

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